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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 ST. CHARLES PARISH, A POLITICAL
 SUBDIVISION OF THE STATE OF
 LOUISIANA, AND MATTHEW JEWELL, IN
 HIS OFFICIAL CAPACITY AS ST. CHARLES
 PARISH PRESIDENT,                    Civil Action No. 2:23-cv-01369

                                                    Section P
                    Plaintiffs,
                                                    Judge Papillion
        v.
                                                    Magistrate Judge North
 FEDERAL EMERGENCY MANAGEMENT
 AGENCY,


                    Defendant.


                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant Federal Emergency Management Agency (“FEMA”) respectfully moves this Court

for an order under Rule 56(a) of the Federal Rules of Civil Procedure granting it summary judgment

on all claims in this Freedom of Information Act case. This motion is supported by the accompanying

Memorandum in Support of Defendant’s Motion for Summary Judgment; Defendant’s Statement of

Undisputed Material Facts; the Declarations of Tammi Hines (with accompanying exhibits) and

Naomi Ondrich on behalf of FEMA; and the Declarations of Matthew Chamberlain on behalf of

Milliman, Inc., Jeffrey Chen on behalf of KatRisk LLC (with an accompanying exhibit), Roger

Grenier, PhD, on behalf of Verisk Analytics, Inc., and Mikhail Palatnik on behalf of CoreLogic, Inc.

(with an accompanying exhibit). A proposed Order is also attached.

       Dated: June 14, 2024                     Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General
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                               MARCIA BERMAN
                               Assistant Branch Director
                               Civil Division, Federal Programs Branch

                               /s/ Yoseph T. Desta
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